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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-115-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

2.     MELISSA CHARRAN,

       Defendant.


                                       INFORMATION


The United States Attorney charges:

                                         COUNT 1

       On or about October 21, 2020, in the State and District of Colorado, the

defendant, MELISSA CHARRAN, did knowingly and intentionally use a communication

facility, that is, the U.S. mail, in committing and causing and facilitating the commission

of a drug trafficking felony, that is, conspiracy to distribute and possess with intent to

distribute: (i) less than 50 kilograms of marijuana, a Schedule I controlled substance,

and (ii) mixtures and substances containing tetrahydrocannabinol (“THC”), a Schedule I

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1),

(b)(1)(C) and (b)(1)(D), and did aid and abet the same.

       All in violation of Title 21, United States Code, Section 843(b) and Title 18,

United States Code, Section 2.
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                                    Forfeiture Allegation

       As a result of committing the violation of Title 21, United States Code, Section

843(b), alleged in Count One of this Information, the defendant, MELISSA CHARRAN,

shall forfeit, pursuant to Title 21, United States Code, Section 853, any and all property,

real or personal, constituting or derived from any proceeds the defendant obtained

directly or indirectly as a result of the said violation, and any and all property used or

intended to be used in any manner or part to commit and to facilitate the commission of

the violation alleged in Count One of this Information.

       If any of the property subject to forfeiture as a result of any act or omission of the

defendant:

              A.     cannot be located upon the exercise of due diligence;
              B.     has been transferred to sold to or deposited with a third person;
              C.     has been placed beyond the jurisdiction of this Court;
              D.     has been substantially diminished in value; or
              E.     has been co-mingled with other property which cannot be
                     subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p) and Title 28, United States Code, Section 2461(c), to seek forfeiture of any other

property of said defendant up to the value of the forfeitable property.




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      All in violation of Title 28, United States Code, Section 2461(c) and Title 21,

United States Code, Section 853.



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